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13                                UNITED STATES DISTRICT COURT
14                           NORTHERN DISTRICT OF CALIFORNIA
15    FEDERAL DEPOSIT INSURANCE           Case No. 5:25-cv-569
      CORPORATION AS RECEIVER FOR SILICON
16    VALLEY BANK,
17                            Plaintiff,
18                           v.                          COMPLAINT
19    GREGORY BECKER, DANIEL BECK, MARC                  DEMAND FOR JURY TRIAL
      CADIEUX, MICHAEL DESCHENEAUX,
20    MICHAEL KRUSE, LAURA IZURIETA, ERIC
      BENHAMOU, ROGER DUNBAR, JOEL
21    FRIEDMAN, MARY MILLER, KATE
      MITCHELL, BEVERLY MATTHEWS, GAREN
22    STAGLIN, ELIZABETH BURR, RICHARD
      DANIELS, ALISON DAVIS, AND JEFFREY
23    MAGGIONCALDA,
24                            Defendants.
25

26          Plaintiff, the Federal Deposit Insurance Corporation as Receiver for Silicon Valley Bank
27   (“FDIC-R”), complains as follows against Gregory Becker, Daniel Beck, Marc Cadieux, Michael
28   Descheneaux, Michael Kruse, and Laura Izurieta (“Officer Defendants”) and Eric Benhamou,


                                                                                       COMPLAINT
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 1   Roger Dunbar, Joel Friedman, Mary Miller, Kate Mitchell, Beverly Matthews, Garen Staglin,

 2   Elizabeth Burr, Richard Daniels, Alison Davis, and Jeffrey Maggioncalda (“Director

 3   Defendants”).

 4                                           INTRODUCTION

 5          1.       This is an action to recover billions of dollars in damages caused by the

 6   negligence, gross negligence, and breaches of fiduciary duty committed by former officers and

 7   directors of Silicon Valley Bank (“SVB” or “Bank”). SVB was closed on March 10, 2023, in

 8   what is now the third largest bank failure in United States history, and the FDIC-R was appointed

 9   as the Bank’s receiver.

10          2.       SVB represents a case of egregious mismanagement of interest-rate and liquidity

11   risks by the Bank’s former officers and directors. In the two years before the Bank failed, the

12   Officer Defendants and Director Defendants ignored fundamental standards of prudent banking

13   and SVB’s own risk policies in pursuit of short-term profit for the Bank’s parent, SVB Financial

14   Group (“SVBFG”). These Defendants—who had identical titles as officers and directors of

15   SVBFG—ignored clear warnings of risk to the Bank’s financial condition, including repeated

16   breaches of the Bank’s own interest-rate-risk models, during a period of actual or likely increases

17   in interest rates. The Defendants ignored these and other warnings to try to boost SVBFG’s short-

18   term income and its stock price, even though doing so exposed the Bank to unreasonable risk.

19   They focused on short-term profits and support of SVBFG’s stock price rather than on prudently

20   managing interest-rate risk and liquidity risk at the Bank. This conduct was negligent, grossly

21   negligent, and a breach of the fiduciary duties of care and loyalty owed by each Defendant to

22   SVB. As a result of these breaches, SVB suffered billions of dollars in losses that would have

23   been avoided had Defendants properly overseen and managed SVB’s risk.

24          3.       The Officer Defendants and Director Defendants breached their duties in at least

25   three ways. First, the Officer Defendants and seven of the eleven Director Defendants

26   overexposed SVB to investments in long-term securities, held primarily in the Bank’s unhedged

27   held-to-maturity (“HTM”) securities portfolio, to try to increase yield in 2021. In making or

28   approving these imprudent investments, the Officer Defendants and seven of the Director
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 1   Defendants ignored the obvious risk that an increase in interest rates would result in substantial

 2   losses to SVB, thereby reducing its capital and liquidity. These investments overconcentrated

 3   SVB in long-duration HTM assets contrary to duration and HTM exposure levels recommended

 4   by consultants to SVBFG and SVB and caused SVB to repeatedly breach its own interest-rate-

 5   risk policies and metrics. But instead of taking corrective action to remedy this risky

 6   overconcentration, address the policy and risk-metric breaches, or otherwise reduce SVB’s

 7   interest-rate risk, the Officer Defendants modified the assumptions underlying one of SVB’s risk

 8   models—without legitimate basis—to try to make it appear as if SVB was not in breach. At the

 9   same time, the Officer Defendants and seven of the Director Defendants caused SVB to continue

10   holding an HTM portfolio with overexposure to interest-rate risk that was an extreme outlier

11   compared to SVB’s peer banks, particularly at a time of actual and anticipated rising interest

12   rates. These Defendants mismanaged the HTM portfolio, and the Officer Defendants altered

13   SVB’s risk metrics, despite obvious and substantial risks to SVB, to allow SVBFG to show short-

14   term income and to attempt to boost its stock price.

15          4.      Second, from 2021 through July 2022, the Officer Defendants and the same seven

16   Director Defendants caused SVB to terminate interest-rate hedges on its available-for-sale

17   (“AFS”) securities portfolio. These hedges, which were entered into as interest-rate swaps,

18   partially protected the AFS portfolio from losses in the event of an increase in interest rates.

19   Ignoring the obvious risk of removing this protection during a period of anticipated and actual

20   rising interest rates, the Officer Defendants and seven Director Defendants caused SVB to

21   terminate and monetize the hedges to try to satisfy SVBFG’s earnings expectations and thereby

22   improve its stock price. Doing so allowed SVBFG to show a short-term increase in earnings and

23   ultimately provided income for SVB to resume a dormant program of paying “bank to parent”

24   dividends to SVBFG. In this way, the Officer Defendants and seven Director Defendants sought

25   short-term benefits for SVBFG at the expense of amplifying SVB’s known and substantial

26   exposure to massive losses in a rising interest-rate environment.

27          5.      Third, five of the Officer Defendants and ten of the Director Defendants were

28   responsible for SVB’s paying a grossly imprudent $294 million bank-to-parent dividend to
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                                                                                            COMPLAINT
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 1   SVBFG in December 2022—less than three months before SVB’s failure. As officers and

 2   directors of SVB, these Officer Defendants and Director Defendants had a duty of undivided

 3   loyalty to the interests of the Bank. Further, bank holding companies (like SVBFG) have a

 4   responsibility to serve as a source of financial and managerial strength to subsidiary banks (like

 5   SVB). But instead of complying with their loyalty obligations and insisting that SVBFG serve as

 6   a source of strength, these Officer Defendants and Director Defendants (who were also SVBFG’s

 7   officers and directors) caused SVB to issue a dividend that deprived SVB of essential capital and

 8   liquidity, for the sole benefit of SVBFG and its shareholders, at a time when SVB was in financial

 9   distress, in addition to harming the Bank by overexposing it to interest-rate risk in its HTM

10   portfolio and removing the protection of the interest-rate hedges.

11          6.      As a result of the mismanagement of SVB’s HTM portfolio, the termination of the

12   interest-rate hedges that partially protected SVB’s AFS portfolio, and the issuance of the bank-to-

13   parent dividend, SVB suffered billions of dollars in losses.

14                                            THE PARTIES

15          A.      Plaintiff

16          7.      The FDIC is a corporation and an instrumentality of the United States of America

17   established under the Federal Deposit Insurance Act, 12 U.S.C. §§ 1811-1835a. On March 10,

18   2023, the California Department of Financial Protection and Innovation closed SVB and

19   appointed the FDIC as Receiver. See 12 U.S.C. § 1821(c). Under 12 U.S.C. § 1821(d)(2)(A)(i),

20   the FDIC-R succeeded by operation of law to all rights, powers, titles, and privileges of SVB and,

21   among others, the depositors, accountholders, and stockholders of SVB. The FDIC-R succeeded

22   to all rights and claims against, among others, SVB’s former directors and officers. In this action,

23   the FDIC-R seeks to recover damages resulting from Defendants’ tortious conduct and breaches

24   of fiduciary duty to SVB.

25          B.      The Officer Defendants

26          8.      Gregory Becker (“Becker”) was the Chief Executive Officer of SVB and a director

27   of the Bank from 2011 until it failed.

28          9.      Daniel Beck (“Beck”) was the Chief Financial Officer of SVB and a member of
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 1   the joint Asset Liability Management Committee (“ALCO”) for SVB and SVBFG from 2017

 2   until the Bank failed.

 3          10.     Marc Cadieux (“Cadieux”) was Chief Credit Officer of SVB and a member of

 4   ALCO from 2013 until the Bank failed.

 5          11.     Michael Descheneaux (“Descheneaux”) was President of SVB from 2017 until the

 6   Bank failed and Chief Financial Officer from 2007 to 2017. He also was a member of ALCO

 7   from 2021 until the Bank failed.

 8          12.     Michael Kruse (“Kruse”) was Treasurer of SVB and Chair of ALCO from 2010

 9   until the end of 2022 but remained a member of ALCO until the Bank failed.

10          13.     Laura Izurieta (“Izurieta”) was the Chief Risk Officer of SVB from 2016 until

11   April 2022. Izurieta also was a member of ALCO from 2017 to April 2022.

12          C.      The Director Defendants

13          14.     Eric Benhamou (“Benhamou”) was a director of SVB from 2005 until the Bank

14   failed, a member of the joint Finance Committee for SVB and SVBFG beginning in at least 2013

15   until the Bank failed, and a member of the joint Risk Committee for SVB and SVBFG beginning

16   in 2015 until the Bank failed.

17          15.     Elizabeth Burr (“Burr”) was a director of SVB from 2022 until the Bank failed.

18          16.     Richard Daniels (“Daniels”) was a director of SVB from 2020 until the Bank

19   failed and a member of the Risk Committee beginning in April 2022.

20          17.     Alison Davis (“Davis”) was a director of SVB from 2020 until the Bank failed.

21          18.     Roger Dunbar (“Dunbar”) was a director of SVB from 2005 to April 2022, Chair

22   of the Board from 2012 to April 2022, a Finance Committee member from no later than 2013 to

23   April 2022, and Chair of the Risk Committee from 2015 to April 2022.

24          19.     Joel Friedman (“Friedman”) was a director of SVB from 2005 until the Bank

25   failed, Chair of the Finance Committee from no later than 2013 until the Bank failed, and a Risk

26   Committee member from 2015 until the Bank failed.

27          20.     Jeffrey Maggioncalda (“Maggioncalda”) was a director of SVB from 2012 until

28   the Bank failed.
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 1          21.     Beverly Matthews (“Matthews”) was a director of SVB from 2020 until the Bank

 2   failed, Chair of the Board from April 2022 until the Bank failed, and a Risk Committee member

 3   from at least October 2021 until the Bank failed.

 4          22.     Mary Miller (“Miller”) was a director of SVB from 2016 until the Bank failed, a

 5   Finance Committee member from 2015 until the Bank failed, and a Risk Committee member

 6   from 2019 until the Bank failed.

 7          23.     Kate Mitchell (“Mitchell”) was a director of SVB from 2010 until the Bank failed,

 8   a Finance Committee member from April 2022 until the Bank failed, Chair of the Risk

 9   Committee from April 2022 until the Bank failed, and a Risk Committee member from 2015 until

10   the Bank failed.

11          24.     Garen Staglin (“Staglin”) was a director of SVB from 2012 until the Bank failed

12   and a Risk Committee member from 2018 until the Bank failed.

13          25.     The Director Defendants who served on the Finance Committee, the Risk

14   Committee, or both are referred to in this complaint as “Finance and Risk Directors.”

15          26.     In addition to service as an officer or director of SVB, each Defendant had an

16   identical (or materially identical) title at SVBFG. Each of the committees described above—the

17   Asset Liability Management Committee, the Finance Committee, and the Risk Committee—also

18   were unitary committees that acted on behalf of both the Board of Directors of SVB and the

19   Board of Directors of SVBFG.

20          27.     A chart of the Officer Defendants and Director Defendants with their positions and

21   committee membership is below:

22
                    Name                       SVB Title                    Committee(s)
23       Gregory Becker                 Chief Executive Officer
24       Daniel Beck                     Chief Financial Officer                ALCO
25       Marc Cadieux                     Chief Credit Officer                  ALCO

26       Michael Descheneaux                    President                       ALCO

27       Michael Kruse                          Treasurer                       ALCO
         Laura Izurieta                    Chief Risk Officer                   ALCO
28
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 1        Eric Benhamou                           Director                  Finance Committee
                                                                             Risk Committee
 2
          Roger Dunbar                            Director                  Finance Committee
 3                                                                           Risk Committee
          Joel Friedman                           Director                  Finance Committee
 4                                                                           Risk Committee
          Mary Miller                             Director                  Finance Committee
 5                                                                           Risk Committee
 6        Kate Mitchell                           Director                  Finance Committee
                                                                             Risk Committee
 7        Beverly Matthews                        Director                   Risk Committee

 8        Garen Staglin                           Director                    Risk Committee

 9        Richard Daniels                         Director                    Risk Committee
          Elizabeth Burr                          Director
10
          Alison Davis                            Director
11
          Jeffrey Maggioncalda                    Director
12

13                                             JURISDICTION
14           28.      The Court has subject-matter jurisdiction over this case under 12 U.S.C.
15   § 1819(b)(1) and (2) and 28 U.S.C. §§ 1331 and 1345. The FDIC-R has the power to sue in any
16   court of law. 12 U.S.C. § 1819(a).
17                                                  VENUE
18           29.      Venue is proper in this judicial district under 28 U.S.C. § 1319(b) because a
19   substantial part of the events and omissions giving rise to the claims asserted in this case occurred
20   in this judicial district.
21                                      DIVISIONAL ASSIGNMENT
22           30.      Under Civil Local Rule 3-5 and 3-2(c) and (e), this case should be assigned to the
23   San Jose Division. This case does not fall into one of the district-wide categories provided for in
24   General Order No. 44, and a substantial part of the events and omissions giving rise to the claims
25   in this case occurred in Santa Clara County. The case accordingly arises in Santa Clara County
26   and should be assigned to the San Jose Division.
27

28
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 1                                     FACTUAL BACKGROUND

 2           A.     SVB and its Key Risk Committees

 3           31.    SVBFG began operating in 1983 and was headquartered in Santa Clara, California.

 4   SVB was a California state member bank and was SVBFG’s principal subsidiary.

 5           32.    As of year-end 2022, SVBFG had about $211.8 billion in total assets. About $209

 6   billion of these assets were attributable to SVB, which accordingly accounted for about 98.67%

 7   of SVBFG’s assets.

 8           33.    Since at least 2021, SVBFG’s and SVB’s Boards of Directors overlapped

 9   completely. That is, each member of SVBFG’s Board of Directors was also a member of SVB’s

10   Board of Directors, and vice versa. There were no independent directors of SVB.

11           34.    Not only were the directors entirely overlapping, but SVBFG and SVB also held

12   joint board meetings producing a single set of joint minutes.

13           35.    Decisions concerning SVB’s assets were made at joint board and committee

14   meetings of both SVBFG and SVB. These decisions and other actions resulted in conflicts of

15   interests where the Defendants financially benefitted SVBFG at the expense of the Bank’s best

16   interests.

17           36.    SVBFG’s and SVB’s Boards of Directors assigned and delegated responsibilities

18   to unitary committees that acted on behalf of both boards, including the Finance Committee, the

19   Risk Committee, and the Asset Liability Management Committee.

20           37.    Under its charter the Finance Committee’s purpose was to oversee “certain

21   corporate strategic matters,” the “financial performance” of SVBFG and SVB and “capital

22   planning, stress testing, and capital and liquidity management, including processes and

23   compliance with applicable regulatory requirements, jointly with the … Risk Committee.” The

24   Finance Committee also was tasked under its charter with reviewing, discussing with

25   management, and making recommendations regarding (a) investments, (b) derivative activities,

26   (c) hedging activities, (d) management of deposits and client funds, and (e) dividend strategies

27   and any proposed dividend declarations. The Finance Committee also had responsibility for

28   capital and liquidity management, and, in concert with the Risk Committee, for financial risk
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 1   management and remediation.

 2          38.     Under its charter the Risk Committee’s purpose was to assist the Boards of

 3   Directors of SVBFG and SVB in overseeing enterprise-wide risk management policies and

 4   frameworks and the risk profile of SVBFG and SVB, including monitoring and understanding

 5   changes to the risk profile, followed by escalation to the board of any matters of concern. The

 6   Risk Committee also was responsible for overseeing SVBFG’s and SVB’s compliance with their

 7   Risk Appetite Statement, including taking appropriate action upon notification of any breaches of

 8   the Risk Appetite Statement. The Risk Committee thus had responsibility for financial risk

 9   management and market risk, including specifically capital and liquidity risk management for

10   both SVBFG and SVB.

11          39.     The Asset Liability Management Committee was composed of senior management

12   from SVBFG and SVB and had responsibility to monitor changes in the composition of SVBFG’s

13   and SVB’s assets. The committee also had responsibility to “review and approve strategies

14   recommended by management that promote optimal financial performance while managing

15   financial risks within levels that are consistent with the Company’s domestic and international

16   business model and risk appetite.” Further, the committee advised “senior management on the

17   appropriate use of Company resources to position the balance sheet for minimal liquidity risk,

18   appropriate interest rate sensitivity, optimal allocation of capital resources, and maximum

19   shareholder value.” Under its charter, the committee was responsible for recommending strategies

20   “consistent with corporate strategic objectives and should adhere to regulatory requirements and

21   guidelines and internal policy limitations.”

22          40.     In addition to holding the same titles at both SVBFG and SVB, members of the

23   Boards of Directors and the Finance Committee, Risk Committee, and Asset Liability

24   Management Committee repeatedly made decisions on behalf of both SVBFG and SVB without

25   distinguishing between the two entities.

26          B.      SVB’s Grossly Imprudent Growth and its Governance and Risk-Management

27                  Failures

28          41.     At the beginning of 2018, SVB had about $56 billion in assets and $50 billion in
                                                    -9-

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 1   deposits; by the end of 2019, it had about $70 billion in total assets and $56 billion in deposits.

 2          42.     Between 2020 and 2021, however, SVB more than tripled its assets and deposits.

 3   In 2020, SVB’s assets nearly doubled to $114 billion, and it had $95 billion in deposits. By the

 4   end of 2021, SVB had $209 billion in total assets and $176 billion in deposits.

 5          43.     SVB’s growth substantially exceeded that of the banking industry as a whole.

 6   Specifically, the industry grew at a rate of approximately 24% from year-end 2019 to year-end

 7   2022, while SVB grew by more than 196% during this same period.

 8          44.     Part of SVB’s growth was fueled by deposits that were heavily concentrated in the

 9   technology and life-sciences sectors. By year-end 2022, venture-capital-backed companies in

10   these sectors accounted for more than half of SVB’s deposits, linking SVB’s deposits and deposit

11   growth directly to venture-capital-deal activity and liquidity events associated with those deals.

12          45.     The vast majority of SVB’s deposits also were uninsured because they exceeded

13   the $250,000 threshold for FDIC deposit insurance. As of year-end 2022, SVBFG’s and SVB’s

14   regulatory filings reflected that approximately 94% of SVB’s deposits were uninsured.

15          46.     SVB’s extraordinary deposit growth resulted in a substantially larger base of

16   deposits than in prior years, but also one that was inherently less stable. The newness of these

17   deposits, their concentration in specific industry sectors having highly variable liquidity profiles,

18   their uninsured status, and other characteristics all reduced the “stickiness” of these deposits,

19   leaving SVB particularly vulnerable to the risk of deposit withdrawals in the event of an increase

20   in interest rates or loss of market confidence in SVB.

21          47.     SVB invested the bulk of this surge in deposits in long-term, fixed-rate,

22   government-backed debt securities, such as U.S. treasuries and mortgage-backed securities.

23          48.     Interest rates in 2020 and 2021 were at historically low levels. During 2020 and

24   2021, SVB purchased tens of billions of dollars of long-term securities at historically low, fixed

25   interest rates with the aspiration of generating relatively modest income because of the then-

26   nominal difference between the interest paid to depositors and the long-term interest rates on

27   government-backed securities. SVB’s portfolio was part of a plan that focused on growing long-

28   duration security investments to generate yield. That plan and strategy is reflected in presentation
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 1   materials provided to the Finance Committee and internal communications among the Officer

 2   Defendants and Director Defendants on the Finance Committee, including at the Finance

 3   Committee meetings, Finance Committee strategy sessions, and Asset Liability Management

 4   Committee meetings.

 5           49.       This investment strategy exposed SVB to severe interest-rate risk of which the

 6   Officer Defendants on the Asset Liability Management Committee were fully on notice. These

 7   Defendants knew or should have known that in a rising interest-rate environment, long-term

 8   securities decline in value and compress net-interest margin (i.e., the difference between the

 9   interest income a bank earns from its investments and the interest it pays out to depositors),

10   resulting in reductions in capital, liquidity, and net income.

11           50.       At the same time, the Finance and Risk Directors also knew or should have known

12   that SVB lacked critical risk-management resources and controls necessary to manage the

13   significant risks associated with SVB’s growth and size. Among other things, SVBFG and SVB’s

14   chief risk officer left in April 2022 and was not replaced until January 2023. SVB also lacked

15   other foundational best practices, discussed below, related to management of interest-rate and

16   liquidity risk.

17           C.        Regulators Repeatedly Warned SVBFG and SVB about Governance and Risk-

18                     Management Failures

19           51.       Regulators repeatedly put all Defendants on notice that there were significant

20   deficiencies with SVB’s management and governance. These notices were provided to each

21   Defendant then serving as an SVB officer or director through reports of examination prepared by

22   SVB’s examiners and regulatory notices referred to as “Matters Requiring Attention” and

23   “Matters Requiring Immediate Attention.”

24           52.       As early as 2019, the Federal Reserve issued a joint Report of Examination with

25   state regulators identifying concerns related to the concentration of SVB’s deposits and funding

26   structure, including that the volatility of SVB’s deposits could pose liquidity risks.

27           53.       In the 2020 joint Report of Examination, examiners criticized SVB’s risk-

28   management practices because those practices were being “outpaced” by SVB’s significant asset
                                                      - 11 -

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 1   growth. The Report of Examination also noted a breach of SVB’s economic value of equity at

 2   risk (“EVE-at-Risk”) tolerance—an important and well-accepted measure of interest-rate risk—

 3   and encouraged management to “formalize the process for monitoring, tracking and escalating

 4   action plans” to address EVE-at-Risk breaches. Examiners also warned about risks posed by a

 5   rising interest rate environment, particularly considering SVB’s growth in deposits and the

 6   growth in the size and duration of its securities portfolio.

 7          54.     In a November 2, 2021 supervisory letter, examiners concluded that liquidity risk-

 8   management practices were inadequate and that this weakness could “underestimate the demands

 9   on available liquidity sources in stress.” Examiners also noted that liquidity risk-management

10   practices had not kept pace with SVB’s significant deposit inflows and very large concentration

11   of uninsured deposits. SVB was ordered to develop a comprehensive liquidity limit and

12   monitoring framework appropriate for its liquidity risk profile. The examiners issued several

13   Matters Requiring Attention and Matters Requiring Immediate Attention that included the

14   following:

15          (a)     requiring SVB to develop a plan to improve liquidity risk-management practices to

16                  meet supervisory expectations and regulatory requirements, including by

17                  addressing past supervisory findings, liquidity stress testing, and contingency

18                  funding;

19          (b)     warning of insufficient oversight and risk management in SVB’s independent

20                  liquidity risk function and internal audit in light of the evolution of SVB’s

21                  liquidity risk profile following SVB’s recent substantial deposit inflows and

22                  concentrations in uninsured deposits;

23          (c)     finding that SVB’s stress testing and scenarios were insufficiently stressing

24                  liquidity exposures and contained inappropriate assumptions by relying on

25                  incomparable peer benchmarks and by ignoring key risk attributes, which limited

26                  SVB’s ability to differentiate deposit risks in periods of stress;

27          (d)     determining that deficiencies in deposit segmentation reduced the reliability of

28                  SVB’s liquidity buffer; and
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 1          (e)     concluding that SVB’s liquidity risk limits and supporting processes were

 2                  insufficient for the size and complexity of its activities.

 3          55.     In May 2022, examiners again issued a letter on SVB’s governance and risk-

 4   management program because SVB had ignored their prior warnings. Examiners criticized the

 5   “lack of effective board oversight,” explaining that “[w]hen risk management weaknesses were

 6   indicated by breaches of internal risk metrics, internal audits and past regulatory examinations,

 7   the board did not hold senior management accountable to remediate these issues.”

 8          56.     In three Matters Requiring Immediate Attention that followed the May 2022 letter,

 9   examiners determined that (a) “the Board’s oversight over the Firm’s risk-management practices

10   is not adequate and has contributed to an ineffective risk management program,” (b) “SVB’s

11   existing risk management program is not effective,” and (c) “Internal Audit Department’s (IA)

12   methodology and programs do not sufficiently challenge management, provide the Audit

13   Committee with sufficient and timely reporting, or ensure the timely analysis of critical risk

14   management functions and the overall risk management program.”

15          57.     In a supervisory ratings letter dated August 17, 2022, examiners downgraded SVB

16   to a composite score of “3” on the “CAMELS” supervisory rating system (which assesses insured

17   depository institutions’ capital adequacy, asset quality, management, earnings, liquidity, and

18   sensitivity to market risk). This rating reflected the examiners’ determination that SVB exhibited

19   supervisory concern in one more or more of these component areas, including specifically the

20   management component, which also was downgraded to a “3” rating. Examiners found that “the

21   board’s oversight does not meet supervisory expectations,” the “risk management program is not

22   effective,” and there was a lack of “foundational liquidity risk management elements.”

23          58.     In another supervisory letter and accompanying Matter Requiring Attention, dated

24   November 15, 2022, examiners further warned that the Bank’s interest-rate-risk models were

25   “unreliable” because they “gave a false sense of safety in a rising rate environment and masked

26   the need to take actions earlier in the rate cycle.” Examiners further noted that this deficiency

27   “call[ed] into question the reliability of [interest-rate risk] modeling and the effectiveness of risk

28   management practices” at SVB.
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 1           D.      SVBFG and SVB’s Own Management Recognized Governance and Risk

 2                   Management Failures

 3           59.     Beyond the warnings of examiners, the Officer Defendants themselves recognized

 4   that the Bank’s risk-management practices and controls were deficient. Becker, Beck, and

 5   Izurieta, among others, regularly criticized the Risk Committee and its members as incompetent,

 6   inattentive, and ineffective, in addition to being unfamiliar with basic and critical concepts—like

 7   the concept of “risk appetite” itself.

 8           60.     SVB’s internal audits also found serious deficiencies with the effectiveness of the

 9   SVBFG and SVB’s Boards of Directors and with SVBFG and SVB’s risk management.

10           61.     For example, in March 2022, SVB’s internal audit division issued a report that

11   rated “Corporate Governance-Board Oversight” as insufficient for the audit period September 1,

12   2020 through November 20, 2021. The report cited several serious deficiencies across all assessed

13   categories. These deficiencies included the following: (a) the lack of a formal framework for the

14   board to hold senior management accountable for risk-related events; (b) a lack of evidence to

15   support the so-called “effective challenge process;” (c) the risk and breach reporting was

16   voluminous and too granular; (d) insufficient time allotted to agenda topics and committee

17   meetings; (e) the lack of a framework for identifying necessary board training; and (f) a lack of

18   clear evidence aligning SVB’s strategy to risk appetite.

19           E.      Overconcentration in HTM Securities Obscures Losses, Prevents Hedging, and

20                   Restricts Liquidity

21           62.     As explained above, the decision to invest in long-term government securities at

22   historically low interest rates exposed SVB to severe interest-rate risk because long-term

23   securities decline in value in a rising interest-rate environment and also generate less income

24   relative to a bank’s deposit costs, which increase as rates rise and depositors expect a higher rate

25   of return on their interest-bearing accounts. The effect is to compress net interest margin,

26   resulting in reductions in capital, liquidity, and net income.

27           63.     Classifying most of SVB’s investments as HTM rather than AFS obscured some of

28   the potential adverse consequences of this decision to principally invest in long-duration
                                                     - 14 -

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 1   securities. Under applicable accounting principles, AFS securities are recorded at “fair value”

 2   (they are “marked to market”), and changes in their value are reflected by the unrealized gains or

 3   losses reported in assets and shareholder’s equity (as accumulated other comprehensive income)

 4   on the balance sheet.

 5          64.     In contrast, HTM securities are not recorded at fair value but instead are carried at

 6   amortized cost. The accounting treatment for securities classified as HTM allowed SVB to

 7   exclude unrealized losses attributable to its HTM portfolio from assets and accumulated other

 8   comprehensive income as interest rates rose—the value of its HTM portfolio did not have to be

 9   reduced to fair value on the consolidated balance sheet for SVBFG and its subsidiaries despite

10   drastic declines in the value of the portfolio. For example, SVB’s unrealized losses in its HTM

11   portfolio skyrocketed from $370 million to over $15.9 billion between September 30, 2021, and

12   September 30, 2022.

13          65.     These accounting rules also prohibit hedging of HTM securities against interest-

14   rate risk. In contrast, AFS securities can be hedged against interest-rate risk.

15          66.     Classifying the bulk of its securities as HTM limited SVB’s ability to liquidate the

16   securities. HTM securities cannot be sold before their maturity date without significant risk of

17   tainting the HTM portfolio and having to reclassify the entire portfolio as AFS, which would

18   result in having to recognize any unrealized loss in the portfolio. The effect of classifying

19   securities as HTM accordingly limits access to these investments as a source of liquidity during

20   times of financial stress. Applicable accounting principles specifically state that HTM securities

21   cannot be sold in response to needs for liquidity such as withdrawal of deposits.

22          67.     SVB was an extreme outlier among its industry peers regarding the relative size of

23   its HTM securities portfolio. Whereas peer banks on average had less than 10% of total assets

24   classified as HTM, SVB had 46% of its total assets classified as HTM in 2021 and 43% of its

25   total assets classified as HTM in 2022. This concentration was even more pronounced in SVB’s

26   securities portfolio, which was 78% HTM both at the end of 2021 and 2022 (as noted in the charts

27   below). This massive overconcentration of long-duration HTM assets exposed the Bank to

28   significant liquidity and interest-rate risk as rates increased in 2022.
                                                      - 15 -

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 1           F.      SVB’s Officers and Directors Knew or Should Have Known of Substantial

 2                   Interest-Rate and Liquidity Risks Facing SVB Yet Continued to Purchase

 3                   Long-Term, Fixed-Rate Securities, Which Magnified its Overconcentration

 4           68.     The Officer Defendants and the Finance and Risk Directors were well aware of a

 5   substantial risk of loss to SVB in the event of a rise in interest rates.

 6           69.     For example, a November 17, 2020 presentation to the Asset Liability

 7   Management Committee, entitled “Managing Exposure to Rising Rates,” warned that continued

 8   investment in long-term securities “exposes the portfolio to risk of unrealized losses” and that

 9   SVB accordingly should reduce the duration of future investments and other assets to reduce the

10   risk to SVB from an increase in interest rates above their historically low levels. From this

11   presentation, the Officer Defendants on the committee were aware that SVB’s securities portfolio

12   had an average duration of 4.5 years with an average yield of 1.15% and that the committee

13   should seek to reduce the duration of purchased securities to 3 years with an average yield of

14   .75%. As part of this presentation, the committee also was informed that due to “the potential for

15   interest rates to rise significantly and remain high,” another supposed “risk mitigation strateg[y]”

16   was to classify securities as HTM rather than AFS to avoid having to recognize unrealized losses

17   on securities classified as AFS.

18           70.     Similarly, in a January 20, 2021 memorandum to the Finance Committee,

19   Treasurer Kruse reminded members of the committee that SVB had “experienced deposit growth

20   well in excess of lending volume,” that this growth had produced excess liquidity that could be

21   invested, but that the duration of the investment portfolio should be between 3.5 to 4 years “so

22   that cash flows are not as susceptible to changes in different rate environments” and to “[c]reate

23   consistent, manageable cash flows.” The Finance Committee was also advised that SVB’s

24   investment strategy should aim for an allocation of 50% to 60% HTM securities (leaving 40% to

25   50% in the AFS portfolio). These recommended limits tracked a plan developed by a third-party

26   consultant, Blackrock, and were designed to manage the portfolio to enhance earnings while also

27   reducing interest-rate risk and liquidity risks.

28           71.     Over the next two years, the Officer Defendants and the Finance and Risk
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 1   Directors ignored these target durations for SVB’s investment portfolio while continuing to

 2   expand its HTM portfolio to avoid recognizing unrealized losses from the decline in the value of

 3   its long-term securities that would have been recognized if the investments had been classified as

 4   AFS.

 5          72.     As reported to the Asset Liability Management Committee and the Finance

 6   Committee, the effective duration of SVB’s investment portfolio increased from year-end 2020

 7   through year-end 2022 and exceeded the January 2021 target of 3.5 to 4 years in all quarters but

 8   one:
                               Quarter Ending                         Duration
 9
                                Dec. 31, 2020                         3.7 years
10
                                Mar. 31, 2021                         4.8 years
11
                                June 30, 2021                         4.5 years
12
                                Sep. 30, 2021                         4.5 years
13                              Dec. 31, 2021                         4.0 years
14                              Mar. 31, 2022                         4.9 years
15                              June 30, 2022.                        5.4 years
16                              Sep. 30, 2022                         5.7 years

17                              Dec. 31, 2022                         5.7 years

18

19          73.     At the same time, the Officer Defendants and the Finance and Risk Directors

20   caused SVB’s ratio of HTM to AFS securities to increase well beyond the target of 50% to 60%

21   of the securities portfolio designated as HTM:

22                          Quarter Ending                     HTM Percentage of
                                                               Investment Portfolio
23                            Dec. 31, 2020                           35%
24                            Mar. 31, 2021                           60%
25                            June 30, 2021                           72%

26                            Sep. 30, 2021                           78%

27                            Dec. 31, 2021                           78%
                              Mar. 31, 2022                           78%
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                                                      - 17 -

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 1                             June 30, 2022                          77%
 2                             Sep. 30, 2022                          77%

 3                             Dec. 31, 2022                          78%

 4          74.     The Officer Defendants and the Finance and Risk Directors took these steps—
 5   causing the duration of the investment portfolio and the size of the HTM portfolio to increase—to
 6   maximize yields in the portfolio (while interest rates remained low) while also attempting to
 7   avoid recognition of losses (when interest rates started to rise). This strategy allowed SVBFG to
 8   show increased profits in the short term and attempt to boost its stock price—all at the expense of
 9   taking on and ignoring obvious and substantial risks of significant losses to SVB as interest rates
10   rose. The Officer Defendants and the Finance and Risk Directors knew or should have known, for
11   example, that lengthening SVB’s asset duration increased its interest-rate risk and that adding to
12   SVB’s HTM portfolio restricted its liquidity. Yet they ignored both risks for SVBFG’s benefit,
13   ultimately causing SVB substantial and foreseeable losses.
14          G.      SVB’s Officers and Directors Ignore Repeated Breaches of SVB’s Risk Policies
15                  and Risk Thresholds
16          75.     Investing in securities that lengthened the duration of SVB’s investment portfolio
17   when the portfolio was already significantly overconcentrated in long-term securities caused SVB
18   to repeatedly breach its own risk-management policies and risk thresholds.
19          76.     SVB’s Global Treasury Policy, as approved by the Finance Committee and Asset
20   Liability Management Committee, mandated use of EVE-at-Risk as a primary metric for
21   assessing and controlling interest-rate risk (referred to as “IRR”). EVE-at-Risk is a measure of the
22   sensitivity to changes in interest rates of a firm’s economic value of equity. Economic value of
23   equity is calculated by subtracting the present value of all liability cash flows from the present
24   value of all asset cash flows for an institution. EVE-at-Risk is calculated by determining an
25   institution’s economic value of equity in the event of a change in interest rates.
26          77.     In the case of SVBFG and SVB, their Global Treasury Policy set limits for
27   changes in EVE-at-Risk at 8% (the inner limit) and 10% (the outer limit) in the event of a 1%
28   change in interest rates (i.e., 100 basis points) and at 16% (the inner limit) and 20% (the outer
                                                     - 18 -

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 1   limit) in the event of a 2% change in interest rates (i.e., 200 basis points).

 2           78.       If SVB breached or approached a breach of these limits, the Treasurer and

 3   Treasury Department had a responsibility to develop and present a mitigation strategy that would

 4   bring SVB back into compliance. Members of the Asset Liability Management Committee and

 5   Finance Committee had a responsibility to review and approve that mitigation strategy.

 6           79.       Despite these policy requirements, SVB regularly and materially exceeded the

 7   inner and outer limits of EVE-at-Risk throughout 2021 and 2022 in rising-interest-rate scenarios

 8   (i.e., +100 basis points and +200 basis points). These breaches were an obvious consequence of

 9   the decision to continue lengthening the duration of SVB’s investment portfolio, since extending

10   asset duration relative to liability duration causes EVE-at-Risk to drop when interest rates rise.

11   Yet in response to these breaches, the Officer Defendants and the Finance and Risk Directors

12   took no action to correct the continuous and material breaches, disregarding the risks associated

13   with operating SVB inconsistent with its own risk policies and ignoring their responsibilities to

14   develop and approve a plan to bring SVB into compliance with its EVE-at-Risk limits. Instead,

15   the Officer Defendants and the Finance and Risk Directors continued to approve increased

16   investments in long-term securities that heightened SVB’s exposure and risk to an increase in

17   interest rates.

18           80.       For example, an internal April 2021 Global Treasury Market Risk Report, which

19   was presented to the Finance Committee, stated that SVB’s EVE-at-Risk as of February 28, 2021

20   was -13.48%, (if interest rates increased by 100 basis points) and -27.89% (if interest rates

21   increased by 200 basis points)—both of which far exceeded the acceptable risk limits in the

22   Global Treasury Policy. This presentation also recognized that the breaches resulted from

23   continued “grow[th] in long-duration fixed income securities.”

24           81.       As another example, at a November 2021 meeting of the Asset Liability

25   Management Committee, Beck reported that SVB had “been out of compliance for EVE at risk

26   for several months” and asked what “additional actions should be taken,” including increasing the

27   limits. Kruse responded that one way of improving EVE-at-Risk was to change the assumptions

28   used in SVB’s deposit model. Thus, rather than mitigate the interest-rate risk by shortening asset
                                                      - 19 -

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 1   duration or taking other steps to correct the breaches, senior management proposed to alter their

 2   models measuring the risk so that the models no longer showed a breach. This is exactly what

 3   was done in April 2022, as discussed further below.

 4          82.     SVB’s EVE-at-Risk continued to breach the outer limits of the Global Treasury

 5   Policy in 2022. SVB’s EVE-at-Risk breaches worsened further as the Federal Open Market

 6   Committee began to increase the federal funds target rate in March 2022, and by April 2022,

 7   materials presented to a joint meeting of the Finance Committee and Risk Committee showed that

 8   EVE-at-Risk was -16.92% (if interest rates increased by an additional 100 basis points)

 9   and -31.42% (if interest rates increased by an additional 200 basis points). Notwithstanding these

10   worsening material breaches during a period when interest rates were rising and expected to rise

11   further, the Officer Defendants and the Finance and Risk Directors continued to cause SVB to

12   hold longer duration securities in its HTM portfolio, thereby exacerbating the breaches and

13   further increasing the Bank’s interest-rate risk.

14          H.      SVB’s Officers Altered the EVE-at-Risk Model Rather than Reducing Its

15                  Interest-Rate Risk

16          83.     Rather than take steps to correct the EVE-at-Risk breaches or mitigate the interest-

17   rate risk evidenced by those breaches, SVB’s officers altered the deposit model that fed into the

18   EVE-at-Risk model to try to make the breaches disappear.

19          84.     The planning for the deposit-model change began in 2021 when members of the

20   Asset Liability Management Committee discussed the continuous and material breaches of EVE-

21   at-Risk and possibly changing deposit assumptions to artificially lower EVE-at-Risk. Following

22   these discussions, the Risk Committee was presented in January 2022 with a report providing for

23   mitigation of interest-rate risk by “managing EVE sensitivity through deposit modeling.”

24   Specifically, the report provided for altering the deposit model’s “curtailment assumption,” which

25   was characterized as the “overall time that deposits remained with the firm.”

26          85.     As reported in a May 24, 2022 presentation to the Asset Liability Management

27   Committee, SVB’s officers implemented this plan by changing the curtailment assumption from

28   5.5 to 12 years. This change more than doubled the curtailment assumption—at a time of
                                                     - 20 -

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 1   heightened interest-rate risk due to actual and anticipated increases in interest rates—without any

 2   valid justification for the change. Given SVB’s extraordinary deposit growth and the risky

 3   composition of those deposits, including the excessive number of uninsured deposits, the Officer

 4   Defendants and the Finance and Risk Directors knew or should have known that SVB’s deposits

 5   were inherently susceptible to leaving the Bank (not “sticky”).

 6           86.     Ultimately, the change to the deposit model was made at Beck’s insistence and

 7   without any objection from members of the Asset Liability Management Committee or the Risk

 8   Committee. SVB’s officers and directors approved this change to try to “manage” a critical

 9   warning sign of serious risk—SVB’s breach of its interest-rate-risk limits—rather than addressing

10   the underlying risk itself.

11           87.     SVB’s change to the deposit curtailment assumption brought EVE-at-Risk within

12   the Global Treasury Policy’s limits for only two months: April 2022 and May 2022. By June

13   2022 SVB was again in material breach—even using its altered model. Those breaches then

14   continued throughout 2022 as reflected in the following chart:

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 1          I.      Mismanagement of the HTM Portfolio Caused Billions in Damages

 2          88.     Throughout 2021, SVB purchased tens of billions of dollars of long-duration,

 3   fixed-interest-rate government securities at historically low interest rates, ignoring the obvious

 4   risk that interest rates could rise. In making or approving these purchases, the Officer Defendants

 5   and the Finance and Risk Directors breached their fiduciary duties of care and loyalty by causing

 6   SVB to operate in violation of its risk-management policies and metrics for the benefit of

 7   SVBFG.

 8          89.     This mismanagement of SVB’s investment portfolio was all the riskier because of

 9   the broadly reported macroeconomic environment during 2021, which was well understood by all

10   Defendants. As inflation increased in 2021, Defendants were aware that there was at least a

11   substantial risk that the Federal Open Market Committee would eventually respond by raising the

12   federal funds target rate (the interest rate that banks charge each other to borrow money

13   overnight). Those risks ultimately materialized.

14          90.     Following a December 15, 2021 meeting, the Federal Open Market Committee

15   announced early termination of a bond-buying program and signaled the possibility of three

16   interest-rate hikes in 2022 followed by three more in 2023.

17          91.     By the time of the April 2022 joint meeting of the Finance Committee and the Risk

18   Committee, there already had been one rate hike, and members of these committees were advised

19   to expect at least six more rate hikes in 2022 alone.

20

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25          92.     Despite the likelihood of at least six more rate hikes and that EVE-at-Risk far

26   exceeded the Bank’s policy limits, the Officer Defendants and Finance and Risk Directors caused

27   SVB to continue to hold $98 billion in excessively long-duration HTM securities. According to

28   SVBFG and SVB’s own models as of April 2022, the bank stood to lose 31.42% (nearly a third)
                                                     - 22 -

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 1   of its economic value of equity in the event of a 2% increase in interest rates (the actual increase

 2   after April 2022 turned out to be 4%), yet the Officer Defendants and Finance and Risk Directors

 3   continued to cause SVB to hold securities that had the effect of lengthening the duration of its

 4   investment portfolio.

 5          93.       This investment strategy caused skyrocketing unrealized losses in the HTM

 6   portfolio as interest rates rose. As of March 31, 2022, SVB’s unrealized HTM losses exceeded $7

 7   billion, and as of September 30, 2022, they exceeded $15.9 billion. The following chart shows

 8   these losses (with values displayed in thousands, so “$(2,000,000)” refers to $2 billion in losses,

 9   for example):

10
                                                                              Unrealized HTM Losses
11                $2,000,000

12                       $-
                                12/1/2017
                                            3/1/2018
                                                       6/1/2018
                                                                  9/1/2018
                                                                             12/1/2018
                                                                                         3/1/2019
                                                                                                    6/1/2019
                                                                                                               9/1/2019
                                                                                                                          12/1/2019
                                                                                                                                      3/1/2020
                                                                                                                                                 6/1/2020
                                                                                                                                                            9/1/2020
                                                                                                                                                                       12/1/2020
                                                                                                                                                                                   3/1/2021
                                                                                                                                                                                              6/1/2021
                                                                                                                                                                                                         9/1/2021
                                                                                                                                                                                                                    12/1/2021
                                                                                                                                                                                                                                3/1/2022
                                                                                                                                                                                                                                           6/1/2022
                                                                                                                                                                                                                                                      9/1/2022
                                                                                                                                                                                                                                                                 12/1/2022
                 $(2,000,000)
13
                 $(4,000,000)
14
                 $(6,000,000)
15
                 $(8,000,000)
16            $(10,000,000)

17            $(12,000,000)

18            $(14,000,000)

              $(16,000,000)
19
              $(18,000,000)
20

21          94.       As of September 30, 2022, SVB had only $15.8 billion in total equity—less than

22   the $15.9 billion in unrealized losses in its HTM portfolio alone. Had those losses been

23   recognized, SVB would have been insolvent.

24          J.        SVB Monetizes the Hedges on its AFS Portfolio to Benefit SVBFG

25          95.       At the end of 2021, SVB’s AFS portfolio was valued at $27 billion, roughly one-

26   third the size of its HTM portfolio.

27          96.       Because the AFS portfolio had to be recorded at fair value, SVB hedged the

28   portfolio using interest-rate swaps to mitigate reductions in accumulated other comprehensive
                                                                                                                           - 23 -

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 1   income in the event of a rise in interest rates. As part of its “Fair Value Hedging strategy,” SVB

 2   entered into interest-rate swaps beginning in March 2021, and by November 2021 it had hedged

 3   $11.3 billion of its $24.2 billion AFS portfolio. This hedging had the effect of reducing the

 4   average duration of the AFS portfolio from 4.5 years to 2.5 years.

 5           97.    The Officer Defendants and the Finance and Risk Directors knew that the purpose

 6   of the interest-rate swaps was to help protect SVB against the risk of rising interest rates and the

 7   detrimental impact on the value of the securities portfolio.

 8           98.    The value of the interest-rate swaps increased, particularly as interest rates rose in

 9   2022. Even though the interest-rate swaps reduced the duration of SVB’s securities portfolio and

10   protected the portfolio from the risk of an increase in interest rates, SVB began unwinding the

11   swaps in 2021 and continued that unwinding throughout 2022 as rates were increasing and

12   expected to continue to increase. By July 2022 the Officer Defendants and Finance and Risk

13   Directors had caused SVB to terminate all but $564 million of the swaps.

14           99.    Terminating the interest-rate swaps ignored the obvious and substantial risk that

15   SVB would incur large losses in its AFS portfolio if interest rates increased. The Officer

16   Defendants and Finance and Risk Directors ignored this risk to realize short-term earnings that

17   would benefit SVBFG by terminating the swaps that were put in place to protect against the risk

18   of rising interest rates. Among other things, terminating the swaps produced gains that allowed

19   SVBFG to hit earnings expectations of Wall Street analysts, thus supporting its stock price, and to

20   show income that could be used to pay an imprudent dividend from SVB to SVBFG at the end of

21   2022.

22           100.   Beck, the Chief Financial Officer of SVBFG and SVB, explained the rationale for

23   the removal of the hedges in a March 17, 2022 text to Dunbar, a Director and Chair of the Boards

24   of Directors of SVBFG and SVB and a member of the Finance Committee and Risk Committee:

25   “Just a quick head[s] up that we are unwinding today a part of our $10Bn hedging position—and

26   selling $2Bn of Treasury securities—the rationale is that we have seen a major increase in short-

27   term rates—and we have the opportunity to re-invest the Treasury positions at higher rates while

28   monetizing part of our $400MM hedging gain. As a result we will recognize close to $55MM of
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 1   gains on the swap unwinds and will improve net interest income by close to $19MM for the year.”

 2   (Emphasis added.)

 3          101.    The Officer Defendants communicated extensively about the need for the AFS

 4   hedges and the decision to terminate them, including Becker, Beck, Izurieta, and members of the

 5   Asset Liability Management Committee (including Kruse, Beck, Descheneaux, Cadieux, and

 6   Izurieta). The Finance and Risk Directors also were kept informed of decisions to terminate and

 7   monetize the AFS interest rate hedges.

 8          102.    In March 2022 the Officer Defendants and Finance and Risk Directors knew that

 9   (a) SVB had been in continuous material breach of the EVE-at-Risk limits in the Global Treasury

10   Policy, (b) SVBFG and SVB’s senior management had forecast an increase in short-term interest

11   rates in 2022 of at least 2%, and (c) terminating the hedges on the AFS portfolio would lengthen

12   rather than shorten asset duration, thereby exacerbating the risk that SVB would incur significant

13   losses as interest rates continued to rise in accordance with management’s own forecasts.

14   Nevertheless, the Officer Defendants and Finance and Risk Directors mismanaged SVB’s

15   liquidity and interest-rate risk by monetizing these interest-rate hedges at a time of rising interest

16   rates to provide short-term support for SVBFG’s earnings and stock price.

17          K.      SVBFG Plunders $294 Million From SVB Through an Improper Dividend

18          103.    SVB historically had paid a “bank to parent” dividend to SVBFG. But in 2020 the

19   dividend was suspended, and according to a presentation made during a March 2022 joint

20   meeting of the Finance Committee and the Risk Committee, it was expected that the “bank-to-

21   parent dividends would remain suspended through FY2023.” Indeed, at this very same meeting,

22   there was a discussion of the need to downstream $2.25 billion from SVBFG to SVB in 2022 and

23   2023 to improve SVB’s leverage ratio.

24          104.    Nevertheless, within months of this meeting, the Officer Defendants (other than

25   Izurieta) began to consider resuming the bank-to-parent dividend. Largely because of the

26   monetization of the hedges discussed above, SVB had additional income that could potentially be

27   used to pay a bank-to-parent dividend under SVB internal policies and regulatory requirements

28   limiting the allowable amount of a dividend to a portion of net income.
                                                     - 25 -

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 1           105.   Both the Officer Defendants (other than Izurieta) and the Director Defendants

 2   (other than Dunbar) communicated internally about how this additional income could be used to

 3   benefit SVBFG. In addition to the bank-to-parent dividend, these Defendants considered using

 4   the income to pay dividends from SVBFG to its shareholders or to fund share repurchases that

 5   would increase SVBFG’s stock price.

 6           106.   In each case, Defendants (other than Izurieta and Dunbar) were considering an

 7   upstream of money to SVBFG to increase SVBFG’s liquidity and meet its cash-flow needs while

 8   disregarding SVB’s own needs for capital, liquidity, and adequate cash flow.

 9           107.   Propping up SVBFG’s share price was a particular concern. SVBFG’s share price

10   had fallen from an all-time high of $755.03 on November 3, 2021, to $335.51 on October 17,

11   2022. All Defendants owned SVBFG stock and in many cases were compensated with equity and

12   bonuses linked to the performance of the stock. They accordingly had a direct interest in its price.

13           108.   The resumption of the bank-to-parent dividend was discussed at the October 18,

14   2022 Asset Liability Management Committee meeting where Kruse, Beck, and Descheneaux

15   were in attendance. At that meeting, the committee approved recommending to the Finance

16   Committee that the bank-to-parent dividend resume and that SVB pay a $294 million special

17   dividend to SVBFG.

18           109.   Kruse delivered this recommendation in an October 19, 2022 memorandum to the

19   Finance Committee. Justifications for paying the dividend in the memorandum included

20   providing “a consistent flow of cash to the Holding Company” and “help[ing] support Parent

21   liquidity.”

22           110.   The October 19, 2022 memorandum reminded the Finance Committee that any

23   dividend must “conform to State and Federal regulatory requirements,” including that the “Bank

24   is able to maintain policy limits and thresholds on all regulatory capital ratios post-dividend,” in

25   addition to having sufficient liquidity to meet customer needs.

26           111.   Neither this memorandum nor the Finance Committee minutes or other materials

27   reflect any analysis or discussion of whether or how SVB could meet these and other

28   requirements. Nor did the Finance Committee document any analysis or discussion of how this
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 1   dividend could be paid consistent with requirements of prudent banking and maintaining SVB’s

 2   safety and soundness.

 3           112.    Instead, the Officer Defendants (other than Izurieta) and the Director Defendants

 4   then on the Finance Committee ignored obvious and substantial risks to SVB associated with

 5   declaring this dividend. Among other things, members of the Finance Committee knew or should

 6   have known at this time that SVB had been breaching its EVE-at-Risk limits for over a year, that

 7   it was well outside those limits in an environment where interest rates were continuing to rise,

 8   that its deposit base lacked characteristics of “stickiness” that guard against deposit runs and

 9   protect liquidity, and that SVB had unrealized losses in its HTM portfolio exceeding the total

10   value of its equity.

11           113.    In fact, at the same meeting where the Finance Committee evaluated the dividend,

12   it received the results of a stress test showing breaches of its liquidity requirements in 30-day, 90-

13   day, and 1-year stress scenarios because of large client outflows ($7 billion), a lack of alternative

14   monetization channels, and higher interest rates that had resulted in market declines in the

15   securities portfolio. The committee members also learned that “wholesale borrowings will

16   continue to be the primary bridge until deposit growth returns.” These liquidity concerns were in

17   addition to no less than thirty-one open regulatory Matters Requiring Attention and Matters

18   Requiring Immediate Attention, including Matters Requiring Immediate Attention related to

19   liquidity risk management, weak risk management and oversight of liquidity, board

20   ineffectiveness, and internal audit ineffectiveness.

21           114.    Disregarding the risks to SVB of plundering it of needed capital at a time of

22   financial distress and management weakness, the Finance Committee (which, of course, was also

23   the Finance Committee for SVBFG) approved the $294 million dividend to benefit SVBFG at the

24   expense of SVB. A memorandum from Kruse to the Finance Committee stated that the purpose of

25   the dividend was to help support liquidity at SVBFG. The Finance Committee’s resolution

26   approving the dividend required that the final amount of the dividend be determined and

27   approved by the Chief Financial Officer or Treasurer of SVBFG. Members of the Finance

28   Committee who approved this dividend were Friedman, Benhamou, Mitchell, and Miller.
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 1          115.    In addition to the members of the Finance Committee who voted to approve the

 2   dividend, the full Boards of Directors of SVBFG and SVB were notified of the intended dividend

 3   at their October 2022 combined meeting. Friedman reported that the Finance Committee had

 4   discussed the resumption of the payment of bank-to-parent dividends and that the Committee had

 5   “approved a dividend payment to be paid in the fourth quarter.” All Director Defendants (other

 6   than Dunbar) attended this meeting. The minutes do not reflect any objection or other opposition

 7   to the dividend by these joint directors of SVBFG and SVB.

 8          116.    The dividend was paid in late December 2022. By that time, SVB’s liquidity

 9   position had only gotten worse. In advance of a November 2022 meeting, the SVBFG and SVB

10   Boards of Directors were advised that management was then anticipating quarterly deposit

11   outflows of at least $5 billion and that SVB was in breach of two key liquidity metrics. One of

12   these metrics required that SVB have a 90-day net-liquidity position, as part of a stress test,

13   greater than $5 billion (as an outer threshold), yet SVB’s 90-day stressed position was negative

14   $23 billion. The November 2022 board packet also reflected that management was considering a

15   series of extraordinary “balance sheet management actions” to improve liquidity, including a one-

16   time transfer of HTM securities to the AFS portfolio, progressive sales of AFS securities, share

17   repurchases, and issuances of long-term debt.

18          117.    Similarly, on December 6, 2022, the Finance Committee expressed “concerns

19   regarding the strength of the deposit base and the expected market competition for deposits going

20   forward” and the “impact to balance sheet management and liquidity.” In an Executive Summary,

21   dated December 6, 2022, the Treasury Department updated the Finance Committee on various

22   matters including “Liquidity Risk Management.” In this regard, it noted that “[a]s of 10-31-2022,

23   two key liquidity metrics . . . have breached thresholds.”

24          118.    At the December 16, 2022 Risk Committee meeting, management advised the

25   committee members that “market and liquidity risk profiles had increased materially over 2022,

26   causing a deterioration of the Company’s liquidity and market status, as evidenced by internal

27   liquidity stress testing, resulting in [the Financial Risk Management Department] raising the risk

28   profile rating to ‘high’ for both market and liquidity risk.” Friedman, Benhamou, Daniels,
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 1   Matthews, Miller, and Mitchell were on the Risk Committee and attended the portion of the

 2   meeting where this information was presented. Despite the worsening financial conditions of

 3   SVB, there was no effort by any of the Director Defendants to reverse the decision to make the

 4   bank-to-parent dividend payment.

 5          119.    Similarly, senior management made no effort to stop the bank-to-parent dividend

 6   and instead reaffirmed the decision to pay the dividend. For example, a December 21, 2022

 7   presentation to the Finance Committee highlighted that SVB remained in breach of its liquidity

 8   metrics: “With higher than forecast deposit outflows, we have breached our Net Liquidity

 9   Position (NLP) metric. How do we stabilize our funding and mitigate our NLP breach?”

10   Nonetheless, Beck replied that he was “good” with paying the dividend and had it paid out to

11   SVBFG at the end of December 2022, just a few months before SVB was closed.

12          120.    Remarkably, on January 18, 2023, the Finance Committee approved an additional

13   $200 million dividend from SVB to SVBFG despite the incredibly negative information it had

14   received regarding SVB’s breaches of its liquidity metrics and interest-rate-risk metrics. In this

15   same meeting, the Finance Committee was presented with the economic forecast for 2023,

16   showing an anticipated 23% decline in net income, expected earnings per share falling to $19.27

17   (versus $25.35 in 2022), and a 3.2% reduction in return on equity (dropping from 12.2% in 2022

18   to 9.0% in 2023). The Finance Committee was also informed that the Financial Risk Management

19   Department continued to rate market risk as “high,” based on the ongoing breaches of EVE-at-

20   Risk limits and the challenge to remediate this breach by the end of 2023.

21          121.    SVB failed before this additional $200 million dividend could be paid to SVBFG.

22                                    COUNT ONE: NEGLIGENCE

23                                   (Against the Officer Defendants)

24          122.    The FDIC-R re-alleges Paragraphs 1 through 121 as if fully set out in this

25   paragraph.

26          123.    As officers of SVB, each Officer Defendant owed SVB a duty to act or refrain

27   from acting in a manner consistent with the diligence, care, and skill that ordinarily prudent

28   persons would exercise under similar circumstances in the conduct of the Bank’s business and
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 1   financial affairs, including, but not limited to, responsibilities to (a) avoid causing SVB

 2   unnecessary risk of loss, (b) implement and oversee appropriate risk-management functions,

 3   processes, and controls for the Bank, including those related to interest-rate and liquidity risk,

 4   (c) manage SVB’s risk-management and other business functions in accordance with the Bank’s

 5   policies and principles of prudent, safe, and sound banking, (d) obtain adequate information

 6   before engaging in or approving transactions, and (e) appropriately and adequately supervise SVB

 7   employees under their supervision and responsibility.

 8           124.    The Officer Defendants breached and abdicated their duties to SVB through,

 9   among other things, acts or omissions that unreasonably caused SVB to

10           (a)     Invest in and continue to hold long-term government securities, primarily in its

11                   unhedged HTM portfolio, without regard to interest-rate risk metrics, like EVE-at-

12                   Risk, thereby lengthening its asset duration and further exacerbating its exposure

13                   to substantial losses in the event of an increase in interest rates; and

14           (b)     Terminate interest-rate swaps providing protection for its AFS portfolio from an

15                   increase in interest rates, thereby lengthening SVB’s asset duration and further

16                   exacerbating its exposure to substantial losses in the event of an increase in interest

17                   rates.

18           125.    The Officer Defendants, other than Izurieta, also breached and abdicated their

19   duties to SVB through, among other things, acts or omissions that unreasonably caused SVB to

20   pay SVBFG a $294 million dividend in December 2022 that deprived SVB of necessary capital

21   and liquidity at a time of significant financial distress.

22           126.    As a direct and proximate result of the Officer Defendants’ breaches of the duty of

23   care, SVB incurred billions of dollars in damages in an amount to be proven. The Officer

24   Defendants’ conduct was a substantial factor in causing these damages, and had they not breached

25   their duties to SVB, those losses would have been avoided.

26                                COUNT TWO: GROSS NEGLIGENCE

27                                         (Against All Defendants)

28           127.    The FDIC-R re-alleges Paragraphs 1 through 121 as if fully set out in this
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 1   paragraph.

 2          128.    Under 12 U.S.C. § 1821(k), officers and directors of an insured depository

 3   institution are personally liable for loss or damage caused by their gross negligence as defined

 4   and determined under applicable state law. California law defines gross negligence as either a

 5   want of scant care or an extreme departure from the ordinary standard of care.

 6          129.    Each Defendant was grossly negligent in that his or her manner of carrying out his

 7   or her duties and responsibilities to the Bank constituted a want of scant care or an extreme

 8   departure from the ordinary standard of care as described in this Complaint.

 9          130.    All Defendants engaged in grossly negligent conduct in numerous ways, including,

10   but not limited to, the following:

11          (a)     Ignoring the obvious and substantial risk to SVB of a rise in interest rates by

12                  causing or allowing SVB to invest in and continue to hold long-term government

13                  securities, primarily in its unhedged HTM portfolio, at a time when it already was

14                  in material breach of its interest-rate risk metrics, like EVE-at-Risk, and thereby

15                  lengthening its asset duration and further exacerbating its exposure to substantial

16                  losses in the event of an increase in interest rates;

17          (b)     Ignoring the obvious and substantial risk to SVB of an increase in interest rates by

18                  causing SVB to terminate interest-rate swaps providing protection for its AFS

19                  portfolio from an increase in interest rates, thereby lengthening SVB’s asset

20                  duration and further exacerbating its exposure to substantial losses in the event of

21                  an increase in interest rates; and

22          (c)     Ignoring the known and substantial risk to SVB of depriving it of necessary capital

23                  and liquidity, at a time of continuing rising interest rates and financial distress, by

24                  approving in October 2022 and then causing SVB to pay a $294 million dividend

25                  to SVBFG in December 2022.

26          131.    The Defendants who engaged in the grossly negligent conduct described in

27   Paragraph 130(a)-(b) include Becker, Beck, Cadieux, Descheneaux, Kruse, Izurieta, Benhamou,

28   Dunbar, Friedman, Miller, Mitchell, Matthews, and Staglin.
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 1          132.    The Defendants who engaged in the grossly negligent conduct described in

 2   Paragraph 130(c) include Becker, Beck, Cadieux, Descheneaux, Kruse, Benhamou, Friedman,

 3   Miller, Mitchell, Matthews, Staglin, Burr, Daniels, Davis, and Maggioncalda.

 4          133.    As a direct and proximate result of Defendants’ grossly negligent conduct, SVB

 5   incurred damages in an amount to be proven but that exceeds billions of dollars due to the

 6   conduct described in Paragraph 130(a)-(b) and at least $294 million due to the conduct described

 7   in Paragraph 130(c). Defendants’ grossly negligent conduct was a substantial factor in causing

 8   these damages, and had they not engaged in this conduct, these losses would have been avoided.

 9                        COUNT THREE: BREACH OF FIDUCIARY DUTY

10                                        (Against All Defendants)

11          134.    The FDIC-R re-alleges Paragraphs 1 through 121 as if fully set out in this

12   paragraph.

13          135.    Due to their positions, each Defendant had a fiduciary relationship with SVB and

14   therefore owed fiduciary duties of care and loyalty to SVB.

15          136.    Each Defendant’s fiduciary duty of care included, but was not limited to, acting as

16   a prudent and diligent professional in conducting and monitoring the affairs of SVB.

17          137.    Each Defendant’s fiduciary duty of loyalty included, but was not limited to,

18   refusing to advance his or her own personal or business interests, or those of others, such as

19   SVBFG, at the expense of SVB.

20          138.    All Defendants breached their fiduciary duties to SVB in numerous ways,

21   including, but not limited to, the following:

22          (a)     Ignoring the obvious and substantial risk to SVB of a rise in interest rates by

23                  causing or allowing SVB to invest in and continue to hold long-term government

24                  securities, primarily in its unhedged HTM portfolio, at a time when it already was

25                  in breach of its interest-rate risk metrics, like EVE-at-Risk, and thereby

26                  lengthening its asset duration and further exacerbating its exposure to substantial

27                  losses in the event of an increase in interest rates, for the self-interested purposes

28                  (among others) of boosting SVBFG’s short-term earnings and stock price;
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 1           (b)     Ignoring the obvious and substantial risk to SVB of an increase in interest rates by

 2                   causing SVB to terminate interest-rate swaps providing protection for its AFS

 3                   portfolio from an increase in interest rates, thereby lengthening SVB’s asset

 4                   duration and further exacerbating its exposure to substantial losses in the event of a

 5                   rise in interest rates, for the self-interested purposes (among others) of boosting

 6                   SVBFG’s short-term earnings and stock price and purporting to enable SVB to pay

 7                   a dividend to SVBFG; and

 8           (c)     Ignoring the known and substantial risk to SVB of depriving it of necessary capital

 9                   and liquidity, at a time of continuing rising interest rates and financial distress, by

10                   approving in October 2022 and then causing SVB to pay a $294 million dividend

11                   to SVBFG in December 2022.

12           139.    The Defendants who breached their fiduciary duties to SVB for the specific

13   breaches set forth above in Paragraph 138(a)-(b) include Becker, Beck, Cadieux, Descheneaux,

14   Kruse, Izurieta, Benhamou, Dunbar, Friedman, Miller, Mitchell, Matthews, and Staglin.

15           140.    The Defendants who breached their fiduciary duties to SVB for the specific

16   breaches set forth above in Paragraph 138(c) include Becker, Beck, Cadieux, Descheneaux,

17   Kruse, Benhamou, Friedman, Miller, Mitchell, Matthews, Staglin, Burr, Daniels, Davis, and

18   Maggioncalda.

19           141.    The conduct described in Paragraph 138(a)-(c) breached fiduciary duties of care

20   owed to SVB by exposing the Bank to obvious and substantial risks to its financial condition,

21   operations, and safety and soundness, including obvious and substantial interest-rate, liquidity,

22   and capital risks.

23           142.    The conduct described in Paragraph 138(a)-(c) breached fiduciary duties of loyalty

24   to SVB by exposing the Bank to obvious and substantial risks to its financial condition,

25   operations, and safety and soundness for the self-interested purpose (among others) of benefiting

26   SVBFG at SVB’s expense.

27           143.    Defendants’ breaches of fiduciary duty violated and are actionable by the FDIC-R

28   under applicable law, including the common law and, as to the Director Defendants, California
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 1   Corporations Code § 309.

 2          144.      As a direct and proximate result of Defendants’ breaches of fiduciary duty, SVB

 3   incurred damages in an amount to be proven but that exceeds billions of dollars due to the

 4   conduct described in Paragraph 138(a)-(b) and at least $294 million due to the conduct described

 5   in Paragraph 138(c). Defendants’ breaches were a substantial factor in causing these damages,

 6   and had they not breached their fiduciary duties, these losses would have been avoided.

 7                                         RELIEF REQUESTED

 8          The FDIC-R requests that the Court enter a judgment against Defendants, jointly and

 9   severally, for

10          A.        Actual damages in an amount to be proven;

11          B.        Prejudgment and post-judgment interest as allowed by law; and

12          C.        Such further relief allowed by law that the Court deems appropriate.

13                                     DEMAND FOR JURY TRIAL
14          The FDIC-R demands a jury trial.

15                                                  /s/_Stephen Sorensen
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